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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                               §
    In re:                     §                               Chapter 11
                               §
    STEWARD HEALTH CARE SYSTEM §                               Case No.: 24-90213 (CML)
    LLC, et al., 1             §
                               §                               (Jointly Administered)
                   Debtors.    §

                                 NOTICE OF APPEARANCE AND
                               REQUEST FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that Holland N. O’Neil, Edward J. Green and the law firm of

Foley & Lardner LLP hereby enter their appearance in the above-captioned chapter 11 case as

counsel for interested party, HonorHealth, an Arizona non-profit corporation (“Honor”) and in

accordance with 11 U.S.C. § 1109(b) and Bankruptcy Rule 9010 and request, as provided in 11

U.S.C. §§ 102(1) and 342 and Bankruptcy Rules 2002 and 9007, that all notices given or required

to be given and all papers served or required to be served in this case be given and served at the

offices, addresses, and numbers as follows:

                                     Holland N. O’Neil (TX 14864700)
                                        FOLEY & LARDNER LLP
                                    2021 McKinney Avenue, Suite 1600
                                             Dallas, TX 75201
                                        Telephone: (214) 999-4961
                                            honeil@foley.com

                                  Edward J. Green (pro hac vice pending)
                                       FOLEY & LARDNER LLP
                                    321 North Clark Street, Suite 3000
                                        Chicago, IL 60654-4762
                                       Telephone: (312) 832-4375
                                            egreen@foley.com




1
  A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://restructuring.ra.kroll.com/Steward/HomeIndex. The Debtors’ service address for these
chapter 11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.

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       PLEASE TAKE FURTHER NOTICE that in accordance with 11 U.S.C. § 1109(b), the

foregoing request includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, orders and notices of any petition, pleading,

complaint, conference, hearing, application, motion, request, or demand (collectively the

“Filings”), whether formal or informal, written or oral, transmitted or conveyed by mail, delivery,

telephone, or otherwise that affect or seek to affect in anyway any rights or interests of Honor.

       PLEASE TAKE FURTHER NOTICE that the undersigned intends that neither this notice

nor any later appearance, pleading, proof of claim, claim, or suit shall constitute a waiver of the

rights of Honor: (i) to have final orders in non-core matters entered only after de novo review by

a District Judge, (ii) the right to trial by jury in any proceeding related to this case or any case,

controversy, or proceeding related to this case, (iii) the right to have the District Court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal, (iv) any other rights,

claims, actions, defenses, setoffs, or recoupments to which Honor may be entitled, in law or in

equity, all of which rights, claims, actions, setoffs, and recoupments are expressly reserved.


DATED: September 9, 2024                      Respectfully submitted by:

                                              /s/ Holland N. O’Neil
                                              Holland N. O’Neil (TX 14864700)
                                              FOLEY & LARDNER LLP
                                              2021 McKinney Avenue, Suite 1600
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                                              COUNSEL TO HONORHEALTH

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                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Appearance and

Request for Service of Papers was served electronically by the Court’s PACER system on

September 9, 2024.

                                          /s Holland N. O’Neil
                                          Holland N. O’Neil




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